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Attendance Record

MDL-2179 Oil Spill by the Oil Rig

“Deepwater Horizon”

Pre-Trial Conference—November 19, 2010

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